                     Case 1:07-cr-00006-PLM
      AO 472 Order of Detention Pending Trial
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                            WESTERN DISTRICT OF MICHIGAN
      UNITED STATES OF AMERICA             ORDER OF DETENTION
              V.                           PENDING TRIAL
      ANTHONY CARLOS ROGERS                                                                    Case Number:         1:07-CR-6

             In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
      require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
               (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                        offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                        existed) that is
                              a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                              an offense for which the maximum sentence is life imprisonment or death.
                              an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                               a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                               U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
              (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                       offense.
              (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                       the offense described in finding (1).
              (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                       assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                       presumption.
                                                                     Alternate Findings (A)
      ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                        ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                              under 18 U.S.C.§924(c).
      ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                       reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
      ✘       (1)      There is a serious risk that the defendant will not appear.
      ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.




                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
 no condition(s) will assure the safety of the community or the appearance of the defendant in light of the unrebutted
 presumption. Defendant waived a detention hearing in open court with his attorney present.


                                                      Part III - Directions Regarding Detention
        The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
   facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
   defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
   or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
   States marshal for the purpose of an appearance in connection with a court proceeding.


     Dated:         June 21, 2007                                                               /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
